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                EXHIBIT 1
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                                                                         Page 1
                   SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                  CIVIL DIVISION



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          LORI OULES,                       )
                                            )    Judge Brian Holeman
                             Plaintiff,     )    Civil Action No.
                                            )    2014 CA 088327 B
          vs.                               )
                                            )
          JOHNSON & JOHNSON, et al.,)
                                            )
                             Defendants. )
          --------------------------



          ---   This is the transcript of the deposition of
          JACK SIEMIATYCKI, Ph.D, taken at 850 St. Denis
          Street, Montreal, Quebec, on the 15th day of
          December, 2016.


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                       REPORTED BY:      HELEN MARTINEAU
                        CERTIFIED SHORTHAND REPORTER




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                                                                         Page 2
     1    A P P E A R A N C E S:
     2    FOR THE PLAINTIFF AND THE WITNESS:
     3    ASHCRAFT & GEREL, LLP
     4    PER:    MICHELLE A. PARFITT, ESQ.
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   12
   13     FOR THE PLAINTIFF:
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                                                                         Page 3
     1    A P P E A R A N C E S: (continued)
     2    FOR THE DEFENDANT: (Johnson & Johnson)
     3    SHOOK, HARDY & BACON LLP
     4    PER:    MARK C. HEGARTY, ESQ.
     5    2555 Grand Blvd.
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     7    mhegarty@shb.com
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     9
   10
   11
   12
   13     FOR THE DEFENDANT: (Imerys Talc America)
   14     GORDON & REES LLP
   15     PER:    MICHAEL R. KLATT, ESQ.
   16     816 Congress Avenue, Suite 1510
   17     Austin, Texas 78701
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                                                                         Page 4
    1    A P P E A R A N C E S: (continued)
    2    FOR THE DEFENDANT: (PCPC - Personal Care Products Council)
    3    SEYFARTH SHAW LLP
    4    PER:   THOMAS T. LOCKE, ESQ.
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         tlocke@seyfarth.com
    7    Tel:   202.463.2400
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                                                                        Page 158
     1                 BY MR. HEGARTY:
     2                 Q.     Your CV refers to receiving grant
     3    money for a "modifiable and genetic factors for
     4    the risk of ovarian cancer study" to look at those
     5    in Quebec.         Are you aware of that study being
     6    done and the grant money being provided?
     7                 A.     Yes.
     8                 Q.     That study is "Prevention of Ovarian
     9    Cancer in Quebec PRO VAQ study"?
   10                  A.     Yes.
   11                  Q.     And it's characterized as a
   12     case-control study of modifiable and genetic risk
   13     factors associated with the risk of ovarian
   14     cancer, is that correct?
   15                  A.     That's correct.
   16                  Q.     You were on that study?
   17                  A.     I'm a co-investigator.              My role has
   18     been to be a mentor to a junior colleague who is
   19     the principal investigator of that study whose
   20     idea it was to help her obtain funding to provide
   21     some -- initially to provide some guidance on
   22     study design and to provide access to people in my
   23     research team who have expertise in running the
   24     field work of such epidemiologic studies.


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     1                 Q.    Let me show you a printout as it
     2    relates to that study from your website.                  It's an
     3    exhibit I've marked as Exhibit number 13.
     4                 EXHIBIT NO. SIEMIATYCKI 13:               Document
     5                 titled "Currently funded research and
     6                 collaborations involving members of the
     7                 group".
     8                 BY MR. HEGARTY:
     9                 Q.    And it is a printout of "Currently
   10     funded research and collaborations involving
   11     members of the group" and you're listed as the
   12     chair of that group.
   13                  A.    Yes.
   14                  Q.    If you turn over to page 4 of 6 we
   15     see the title of that study in the lower half of
   16     that paper, correct?
   17                  A.    Correct.
   18                  Q.    About two thirds of the way down the
   19     summary of that study says, "Established
   20     preventative factors for ovarian cancer include
   21     high parity, long duration of lactation, oral
   22     contraceptive use and tubal ligation."                  Do you
   23     agree that those are established preventative
   24     factors?


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     1                 A.    Sorry, which line?
     2                 Q.    About the middle where it says
     3    "established preventative factors".                Do you agree
     4    that those are established preventative factors?
     5                 A.    Yes.
     6                 Q.    If you skip over the next line and
     7    go to the next one it says:
     8                       "There is suggestive evidence that
     9                 modifiable factors in the vitamin D
   10                  pathway, (sun exposure diet) and
   11                  inflammation pathway (anti-inflammatory
   12                  medication use, talc use for feminine
   13                  hygiene) may play a role in ovarian
   14                  cancer risk.      Though this research has
   15                  been limited by small sample sizes,
   16                  crude exposure measurement and lack of
   17                  control for important confounders."
   18     That's what that says, correct?
   19                  A.    Correct.
   20                  Q.    So with regard to potential
   21     modifiable factors such as talc use for feminine
   22     hygiene that sentence is saying that it's -- there
   23     is suggestive evidence that it may play a role in
   24     ovarian cancer, correct?


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                                                                      Page 161
     1                 MS. PARFITT:      Objection, form.
     2                 THE DEPONENT:       That -- sorry, that what?
     3                 BY MR. HEGARTY:
     4                 Q.    The sentence that I just read if we
     5    break it down to talc it says there is suggestive
     6    evidence that talc used for feminine hygiene may
     7    play a role in ovarian cancer risk, correct?
     8                 A.    Yes, it says that.
     9                 MS. PARFITT:      Objection.
   10                  BY MR. HEGARTY:
   11                  Q.    And it also says that the evidence,
   12     that suggestive evidence, the research on that has
   13     been limited by small sample sizes, crude exposure
   14     measurement and lack of control for important
   15     confounders, correct?
   16                  A.    Correct.
   17                  Q.    That sentence applies to all of the
   18     potential modifiable factors in this sentence,
   19     correct?
   20                  A.    Yes.
   21                  Q.    Including talc?
   22                  A.    The grammatical structure of that
   23     sentence would imply what you say.
   24                  Q.    This is a study that's looking at


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     1    talc use and ovarian cancer, correct?
     2                 A.    Among other things.
     3                 Q.    And certainly it's -- strike that.
     4                 In presenting the grant request for this
     5    study you didn't state that talc use had been
     6    established as a cause of ovarian cancer, correct?
     7                 MS. PARFITT:       Objection, form.
     8                 THE DEPONENT:       Correct.
     9                 BY MR. HEGARTY:
    10                 Q.     Where does this study stand?
    11                 A.     So to explain the context of this
    12    study and of this paragraph that you read, it was
    13    somewhere around 2008 or so that my colleague,
    14    Anita Koushik, started working on the idea for
    15    this study.        And she -- I imagine that this
    16    paragraph has been around since the beginning,
    17    around 2008, 2009.         This was the period of the
    18    first grant application.
    19                 There was a pilot study that was funded
    20    that lasted a year or two; and then she was
    21    successful in getting funding for a larger study;
    22    and then we got funding to extend it further.
    23                 The study now has nearly been completed
    24    or it's on the point of being completed in terms


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     1    of the field work.         Maybe it is completed.
     2                 After the first few years of helping her
     3    to get started and establish herself as a new
     4    researcher in this milieu, and getting familiar
     5    with how to get funds and this sort of thing, I
     6    kind of retreated into the background of the
     7    process.     And she has been running it with help
     8    from some of the people in my own research team
     9    for these years.
    10                 I think it's now complete but it might
    11    be a couple of months away from being completed,
    12    the field work.        They've started analyzing some of
    13    the wealth of information that they collected.
    14    They may have -- I don't think that they have
    15    touched the talc variables at all.                I certainly
    16    haven't heard anything about analyses or results
    17    concerning talc and ovarian cancer.                    They're
    18    starting with some of the variables around
    19    reproductive factors and looking at associations
    20    there with ovarian cancer.
    21                 This website that you got this off of is
    22    our team website, but I really don't have anything
    23    to do with it.       I let other people put their
    24    projects and their text on to it, and I'm pleased


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     1    that Anita has done this and has this description
     2    of the project.        The description is now many years
     3    old.    It's from the time before the fund -- the
     4    field work started.         So it would be, I'm guessing,
     5    the years 2008, 2009.          It's not a publication.                  I
     6    don't monitor what's there.              So that's really
     7    where things are at.
     8                 Q.    You're listed in the summary as the
     9    second researcher on this paper.
    10                 A.    Yeah.    I think I've been listed -- I
    11    think this group has been listed as it is for six
    12    or seven years in various iterations of grant --
    13    obtaining grants.
    14                 Q.    Are you still an advisor on this
    15    study?
    16                 A.    I expect that when the time comes to
    17    writing articles or -- and reviewing the data and
    18    interpreting it I expect that at that point I will
    19    be asked to participate.              I haven't participated
    20    really for about four years, four or five years at
    21    all.     The last participation was probably around
    22    2012 with a grant application at that time.
    23                 So it's bit of an elastic concept to ask
    24    if I participate.        I haven't actively done


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     1    anything about it but I probably will again in the
     2    future.
     3                 Q.    You mentioned another grant
     4    application I think you received in 2012 where
     5    this same description had been used for that grant
     6    application?
     7                 A.    Could very well be.          If you can
     8    point me to the thing I can confirm it, but I
     9    think it was 2012 that we got the last big grant
    10    application for this project.
    11                 Q.    Have you stepped in and advised with
    12    regard to the talc component of this study?
    13                 A.    Not really.        And I do know that the
    14    talc component of the questionnaire was a very
    15    detailed one.       And I frankly don't recall what
    16    role I played, if any, in devising the
    17    questionnaire for the talc questions.                  I'm
    18    inclined to believe that it's as good as it is
    19    because I didn't have much of a role in it and the
    20    others just did a job with it.
    21                 Q.    You agree that the issue of talc and
    22    ovarian cancer is still an area worth studying
    23    with epidemiologic studies?
    24                 MS. PARFITT:       Objection, form.


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     1                 THE DEPONENT:       Absolutely, yes.            Just as
     2    smoking and cancer is still an area worth studying
     3    for various reasons.
     4                 BY MR. HEGARTY:
     5                 Q.    One of the sponsors of your research
     6    group is the Canadian Cancer Society, is that
     7    correct?
     8                 A.    For this project?          Or when you say
     9    "my group"?
    10                 Q.    Generally.         Strike that, let me ask
    11    it another way.
    12                 What relationship does your group or you
    13    have individually with the Canadian Cancer
    14    Society?
    15                 A.    Now I don't have any relationship
    16    with it.     I've had quite a few grants from them,
    17    from that agency in the past and I was on the
    18    Board of Directors for a few years.
    19                 Q.    What years were you on the Board of
    20    Directors?
    21                 A.    Somewhere around 2000 to 2008 maybe,
    22    somewhere in that ball park.              But it could be -- I
    23    could be off by a few years.              They've changed
    24    names.     The Canadian Cancer Society is equivalent


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     1                        REPORTER'S CERTIFICATE
     2
     3                 I, HELEN MARTINEAU, CSR, Certified
     4    Shorthand Reporter, certify;
     5                 That the foregoing proceedings were
     6    taken before me at the time and place therein set
     7    forth at which time the witness was put under oath
     8    by me;
     9                 That the testimony of the witness and
    10    all objections made at the time of the examination
    11    were recorded stenographically by me and were
    12    thereafter transcribed;
    13                 That all quotes were inserted as read:
    14                 That the foregoing is a true and
    15    accurate transcript of my shorthand notes so
    16    taken.     Dated this 30th day of December, 2016.
    17
    18
    19                 ______________________________
    20                 PER:    HELEN MARTINEAU
    21                 CERTIFIED SHORTHAND REPORTER.
    22
    23
    24


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